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                    EXHIBIT 8
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                                        Joel D. Siegel                                                                 Dentons US LLP
                                                                                                              601 South Figueroa Street
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                                                                                                                          United States


                                                                                                                          dentons.com




October 30, 2024

BY E-MAIL AND FEDERAL EXPRESS

Apple Central KC, LLC                                             Apple Central KC, LLC
9 Greenwich Office Park, 2nd Floor                                166 West Putnam Avenue
Greenwich, CT 06831                                               Greenwich, CT 06830
Attn: William J. Georgas                                          Attn: William J. Georgas
bgeorgas@afcbrands.com                                            bgeorgas@afcbrands.com




Re:       Notice of Termination of Franchise Agreements (the “Termination Notice”) for Applebee’s
          Restaurants (collectively, the “Restaurants”)

Dear Mr. William J. Georgas:

          This firm represents Applebee’s Franchisor LLC (“Applebee’s”), and we write in reference to those
certain Franchise Agreements, as amended, identified on Exhibit A hereto (collectively, and together with
all related and ancillary agreements, the “Agreements”) by and between Applebee’s on the one hand and
Apple Central KC, LLC (“Franchisee”) on the other hand. American Franchise Capital III, LLC; AFC Apple
Holdings, LLC; AFC Apple Parent Holdings, LLC; American Franchise MidCo, LLC; American Franchise
Intermediate MidCo, LLC; American Franchise Holdings, LLC; QS AFC Holdings, LLC; QS AFC
Parent, LLC;1 Georgas Capital, LLC; William Georgas; WJG 2020 Revocable Trust; Sophia K. Georgas
2020 Irrevocable Trust; and John W. Georgas 2020 Irrevocable Trust (collectively, the “Guarantors,” and
together with the Franchisee, “you”) guaranteed all of Franchisee’s financial obligations under one or more
of the Agreements.

        Under the Agreements, Applebee’s granted Franchisee the right, subject to the Agreements’
provisions, to continually operate the Restaurants during the terms of the Agreements. Agreements, § 1.1.
With exception of the Agreement for the restaurant located at 11000 Metcalf Avenue, Overland Park, KS
(the “Metcalf Agreement”), the term of each Agreement commenced on July 23, 2015, and is scheduled to
expire at midnight on July 23, 2035. Agreements, § 1.2. For the Metcalf Agreement, the term commenced
on September 1, 2017, and expires at midnight on November 29, 2027. Metcalf Agreement, § 1.2.

        The Agreements expressly require Franchisee to keep the Restaurants open and operating for the
duration of the applicable terms. As clearly stated in Section 1.5 of the Agreements, Franchisee “agrees to
operate the Restaurant and perform as required hereunder for the full term of this Agreement.” The
Agreements provide Applebee’s with the right to terminate such Agreement immediately upon written notice


1     QS AFC Parent, LLC’s status as a Guarantor is based on that certain Counterpart Joinder to Guaranty, dated
      October 29, 2024, provided to Applebee’s pursuant to Section 11 of that certain Guaranty dated March 28, 2017,
      from QS PDI S.C.A. SICAR-Club Leaders.

Puyat Jacinto & Santos ► Link Legal ► Zaanouni Law Firm & Associates ► LuatViet ► For more information on the firms that have come
together to form Dentons, go to dentons.com/legacyfirms
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to Franchisee “if Franchisee ceases to operate the Restaurant without the prior written consent of
Franchisor or loses its right to possession of the Restaurant premises.” Agreements, § 19.1(c).

         Despite the foregoing provisions, Franchisee has closed each of the Restaurants. Specifically,
Franchisee closed the Restaurants on October 30, 2024, with no plans to reopen and without Applebee’s
express written consent. In doing so, Franchisee has materially breached the Agreements, including without
limitation Section 1.5.

        Based on Franchisee’s closure of the Restaurants, and pursuant to Section 19.1(c) of the
Agreements, Applebee’s hereby terminates the Agreements effective as of the date of this Notice and
provides written notice of such termination. Franchisee is expected to fully comply with any and all post-
termination obligations under the Agreements, and Applebee’s hereby demands the same.

                                                      *    *        *

        Nothing contained herein shall be construed to modify or limit any rights or remedies of Applebee’s.
Applebee’s expressly reserves all of its rights with respect to any and all remedies at law or in equity, under
the Agreements, any ancillary documents, any other contract, or any other source of right or remedy.
Neither this correspondence nor any action taken or not taken by Applebee’s, including, but not limited to,
continuing to do business, accepting records, accepting money, or any other action or inaction, shall be
deemed to be a waiver of Applebee’s right to any remedies or a waiver of any other rights or actions
Applebee’s may have against you. Similarly, Applebee’s does not waive any other default or breach or any
other contracts that are not addressed in this correspondence. Nothing in this correspondence shall be
construed to modify, extend, or limit the effect of any notice of default you may have received.

                                                            Very truly yours,




                                                            Joel D. Siegel

Attachment

cc:     Quilvest USA, Inc.
        527 Madison Avenue, 11th Floor
        New York, NY
        Attn: Lawrence Neubauer
        lneubauer@quilvestusa.com

        Dechert LLP
        1095 Avenue of the Americas
        New York, NY
        Attn: Mark E. Thierfelder and Christian Matarese
        mark.thierfelder@dechert.com
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  Greenwich, Connecticut 06830
  Attn: Steve B. Steinmetz
  ssteinmetz@ibolaw.com

  Apple Central KC, LLC
  3390 Peachtree Road, Suite 360
  Atlanta, GA
  Attn: William Georgas
  bgeorgas@afcbrands.com

  Equity Bank
  7701 E. Kellogg, Ste. 100
  Wichita, KS 67202
  Attn: Blake Yakel
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                                                             EXHIBIT A

                                                      Franchise
Rest. #     Restaurant Location     Franchisee       Agreement                                 Franchise Documents
                                                    Effective Date

              9300 East 350        Apple Central                      Franchise Agreement by and between Applebee’s Franchisor LLC and
079000      Highway, Raytown,                         7/23/2015
                  MO                 KC, LLC                                Franchisee and Apple Central KC, LLC as of July 23, 2015


              11000 Metcalf
                                   Apple Central                      Franchise Agreement by and between Applebee’s Franchisor LLC and
079002       Avenue, Overland                          9/1/2017
                 Park, KS            KC, LLC                             Franchisee and Apple Central KC, LLC as of September 1, 2017


              3404 Rainbow         Apple Central                      Franchise Agreement by and between Applebee’s Franchisor LLC and
079003       Boulevard, Kansas                        7/23/2015
                  City, KS           KC, LLC                                Franchisee and Apple Central KC, LLC as of July 23, 2015


             2912 South Fourth
            Street, Leavenworth, Apple Central                        Franchise Agreement by and between Applebee’s Franchisor LLC and
079006                                                7/23/2015
                      KS           KC, LLC                                  Franchisee and Apple Central KC, LLC as of July 23, 2015


              16110 West 135th
                                 Apple Central                        Franchise Agreement by and between Applebee’s Franchisor LLC and
079008        Street, Olathe, KS                      7/23/2015
                                   KC, LLC                                  Franchisee and Apple Central KC, LLC as of July 23, 2015


            6800 Johnson Drive,
                Mission, KS     Apple Central                         Franchise Agreement by and between Applebee’s Franchisor LLC and
079009                                                7/23/2015
                                  KC, LLC                                   Franchisee and Apple Central KC, LLC as of July 23, 2015


            1700 Village West                                         Franchise Agreement by and between Applebee’s Franchisor LLC and
                                 Apple Central
079011     Parkway, Kansas City,                      7/23/2015             Franchisee and Apple Central KC, LLC as of July 23, 2015
                                   KC, LLC
                    KS

               1501 Northeast
                               Apple Central                          Franchise Agreement by and between Applebee’s Franchisor LLC and
079020         Douglas Street,                        7/23/2015
                                 KC, LLC                                    Franchisee and Apple Central KC, LLC as of July 23, 2015
              Lee’s Summit, MO




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  together to form Dentons, go to dentons.com/legacyfirms
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